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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 9:22-CV-81137-Cannon

   JOSHUA BAXTER and SANDRA SUMMERS,
   individually and on behalf of all others similarly
   situated,

          Plaintiffs,

   v.

   CROSS COUNTRY HEALTHCARE, INC. and
   TRAVEL STAFF, LLC,

          Defendants.


                 PLAINTIFFS’ MOTION FOR LEAVE TO FILE SURREPLY
                 TO DEFENDANTS’ MOTION TO COMPEL ARBITRATION

         Under Local Rule 7(c)(1), Plaintiffs respectfully request leave of Court to file a surreply to

  respond to the new arguments, new facts, and eight new exhibits raised in Cross Country’s 20-

  page Reply supporting its Motion to Compel Arbitration (Docs. 21, 29). In support of this Motion,

  Plaintiffs attach as Exhibit 1 their proposed Surreply, which they have limited to the new

  arguments and evidence that Cross Country raised on reply. In addition, Plaintiffs state as follows:

         1.      It is “well-established that ‘[a]rguments not properly presented in a party’s initial

  brief or raised for the first time in the reply brief are deemed waived.’” MY. P.I.I. LLC v. H&R

  Marine Eng’g, Inc., 544 F. Supp. 3d 1334, 1349–50 (S.D. Fla. 2021); see also Rankin v. Celebrity

  Cruises, Ltd., 489 F. App’x 362, 362 n.1 (11th Cir. 2012) (“the law of this circuit is clear that

  arguments which are first raised in a reply brief are deemed waived.”). To that end, Local Rule

  7.1(c)(1) prohibits raising new arguments in a reply memorandum. LR 7.1(c)(1) (“reply




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  memorandum shall be strictly limited to rebuttal of matters raised in the memorandum in

  opposition without reargument of matters covered in the movant’s initial memorandum of law.”).

          2.         “If a party does not follow these parameters and interjects new argument, the

  opposing parties may file a surreply, provided they first obtain ‘leave of Court.’” See LR 7.1(c)(1);

  Fed. Deposit Ins. Corp. v. Prop. Transfer Servs., Inc., No. 12-80533-CV, 2013 WL 11327802, at

  *1 (S.D. Fla. Aug. 9, 2013). “A district court’s decision to permit the filing of a surreply is purely

  discretionary . . . .” First Specialty Ins. Corp. v. 633 Partners, Ltd., 300 Fed.Appx. 777, 788 (11th

  Cir. 2008) (stating, however, that “Our sister circuits have held that a district court can abuse its

  discretion by failing to give the opposing party a chance to respond to materials presented for the

  first time in a reply brief and instead granting summary judgment on the basis of that evidence.”);

  Hammet v. Am. Bankers Ins. Co., 203 F.R.D. 690, 695 n.1 (S.D. Fla. 2001) (granting motion for

  leave to file a surreply “[b]ecause [the opposing party] presented new arguments and a new theory”

  in their reply).

          3.         Here, Cross Country improperly raised new arguments and new evidence in its

  Reply in support of compelling arbitration. Many of those new arguments and assertions flatly

  contradict those made in its initial moving papers. As just some examples:

               •     In its initial motion, Cross Country stated that an arbitration agreement was a
                     “precondition to receiving an assignment” with the company. Doc. 15, at 3. Cross
                     Country retracts this assertion on reply, now claiming by declaration that “[a]n
                     executed arbitration agreement is not required before a travel nurse can begin her
                     assignment.” See Doc. 29-2, Fain Declaration, at 5, ¶¶ 23-24 (emphasis added).

               •     In its consolidated motion, Cross Country asserted that “[e]nforceable arbitration
                     agreements were formed because TS offered temporary assignments to Plaintiffs
                     and, as a condition of those assignments, included a mutual agreement to submit
                     disputes between the parties to binding arbitration, which Plaintiffs accepted for the
                     consideration of employment.” Doc. 21 at 8-9. In its Reply, Cross Country attempts
                     to back away from its earlier claim that the arbitration agreements were offered in
                     connection with particular assignments, now claiming that one arbitration
                     agreement applies to all of an employee’s non-California assignments. See Doc. 29,


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                  at 6 (claiming that “once a travel nurse executes” an arbitration agreement, “if they
                  obtain a subsequent assignment that would implicate the same type of agreement
                  (e.g., a travel nurse staffed in California retains another assignment in California),
                  TS does not require that they execute another arbitration agreement, as the
                  agreement pertains to their employment with TS which is not terminated as a matter
                  of course when an assignment ends.”).

              •   Finally, in its consolidated motion, Cross Country indicated that it was relying on
                  the “express terms” of the two arbitration agreements it submitted. See Doc. 21 at
                  9-10 (explaining that “[b]y their express terms, the Agreements plainly apply to all
                  of the claims in Plaintiffs’ Complaint, each of which arises out of or relates to their
                  employment as travel nurses with TS.”). Cross Country now backs away from this
                  claim too, relying instead on its internal onboarding processes—which it discusses
                  for the first time on reply—arguing that the arbitration agreement it submitted for
                  Plaintiff Baxter applied to claims arising out of his at-issue Florida assignment.
                  Doc. 29 at 14 (claiming that Plaintiffs’ assertion that each assignment was
                  associated with a separate agreement to arbitrate is “completely at odds with how
                  CCH operates.”).

         3.       These shifting assertions go to the heart of the Parties’ dispute as to whether the

  Plaintiffs entered valid and enforceable agreements to arbitrate their claims. And as all the

  information that Cross Country now asserts was in its possession, there was no justifiable reason

  for Cross Country to withhold it until its Reply. Indeed, prior to filing their Opposition papers,

  Plaintiffs asked Cross Country to provide them with all documents on which it relied in seeking to

  compel arbitration, but Cross country refused to provide them with any documents or information.1

  Instead, Cross Country waited until its Reply to submit these documents, thus eliminating the

  opportunity for any rebuttal.

         4.       Cross Country’s Reply also attaches two new declarations and six other new

  exhibits. Many of these documents provide misleading and unverified information. As just a few

  examples:




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           Cross Country’s selective release of information and refusal to engage in discovery is the
  subject of Plaintiffs’ concurrently filed opposition to Cross Country’s motion to stay discovery,
  which Plaintiffs incorporate by reference.


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              •   Cross Country submits a purported California arbitration agreement for Plaintiff
                  Baxter. But when Plaintiff Baxter recently visited his Cross Country portal, his
                  incomplete tasks still included a California arbitration agreement, calling into
                  question the proffered version (Doc. 29-5). See Exhibit 2, Screenshots of Plaintiff
                  Baxter’s Cross Country Portal from September 1, 2022.

              •   Cross Country submits for the first time on reply a document it characterizes as an
                  “Employment Terms and Conditions Booklet.” There are numerous issues with this
                  document, including that it is not signed by either of the Plaintiffs, and Cross
                  Country provides no evidentiary support it was accessible to Plaintiffs, which they
                  both previously attested they did not receive.

              •   Offering eight pages or 39 paragraphs of new information, the Declaration of
                  Danielle Fain (Doc. 29-2) broadly discusses Cross Country’s “onboarding
                  process,” “renewal process,” and “arbitration agreements” and references six other
                  exhibits. See generally Doc. 29-2; id. (citing Exhibits A-F or Docs. 29-3 through
                  29-8). In doing so, however, it conflicts with the record, omits key details, and,
                  ultimately, is misleading.

         5.       If granted leave to file a surreply, Plaintiffs will contest these new exhibits and

  Cross Country’s new arguments, and thus avoid the prejudice of leaving new material uncontested.

         6.       Plaintiffs’ counsel certifies that they have conferred with Cross Country’s counsel

  in a good faith effort to resolve the issues raised in the motion and have been unable to do so. Cross

  Country does not consent to Plaintiffs filing a surreply.

         WHEREFORE, Plaintiffs respectfully request leave of Court to file a surreply to Cross

  Country’s Reply (Doc. 29) or, alternatively, urge the Court to deny Cross Country’s motion

  outright or grant Plaintiffs’ request under Section 4 of the FAA for arbitration-related discovery

  and a jury trial on the validity of the proffered arbitration “agreements.”

  Dated: November 2, 2022                        Respectfully submitted:

                                                 SHAVITZ LAW GROUP, P.A.

                                                 /s/ Gregg I. Shavitz
                                                 Gregg I. Shavitz
                                                 951 Yamato Road, Suite 285
                                                 Boca Raton, FL 33431
                                                 Telephone: (561) 447-8888


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                                     Fax: (561) 447-8831
                                     gshavitz@shavitzlaw.com

                                     STUEVE SIEGEL HANSON LLP
                                     J. Austin Moore*
                                     Alexander T. Ricke*
                                     K. Ross Merrill*
                                     * Admitted pro hac vice
                                     460 Nichols Road, Suite 200
                                     Kansas City, Missouri 64112
                                     Telephone: (816) 714-7100
                                     Facsimile: (816) 714-7101
                                     moore@stuevesiegel.com
                                     ricke@stuevesiegel.com
                                     merrill@stuevesiegel.com

                                     Attorneys for Plaintiffs and the Putative Class and
                                     Collective




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